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          IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                     )
             Plaintiff,                       )
                                              )
vs.                                           )         Case No. 22-CR-115-CVE
                                              )
NICOLE COX,                                   )
                    Defendant.                )

                         ENTRY OF APPEARANCE
                     AS CJA APPOINTED CO-COUNSEL

To the Clerk of this Court and all parties of record:

      Please enter my appearance as CJA Appointed Counsel in this case for the

Defendant, Nicole Cox. I certify that I am authorized to practice in this Court and

am registered to file documents electronically with this Court.

      Dated this 26th day of May 2022.


                                              Respectfully submitted,
                                              s/ Michael Wayne Noland
                                              Bar Number: 21768
                                              435 N. Walker Avenue, Suite 105
                                              Oklahoma City, OK 73102
                                              Telephone: (405) 225-1311
                                              Fax: (405) 225-1312
                                              nolanddefensefirm@yahoo.com
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                              Certificate of Service

       I hereby certify that on May 26, 2022 I electronically transmitted the above
document to the Clerk of the Court using the ECF system for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrant: Assistant United
States Attorney David Nasar.

                                            s/ Michael W. Noland
